                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


UNITED STATES OF AMERICA,                      )
                                               )
                                Plaintiff,     )
                                               )
                       v.                      )       No. 3:05-CR-117
                                               )       (JARVIS/SHIRLEY)
ELOY LUGO,                                     )
                                               )
                                Defendant.     )
                                               )


                                              ORDER


       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case is before the Court on Defendant Eloy Lugo’s Motion Continuance

For Filing Motions [Doc. 68], filed on January 13, 2006. In this motion, defense counsel states that

he and the defendant have been reviewing the evidence from the discovery provided by the

government. The defendant needs some additional time to review this material through a Spanish

translator with his attorney. In addition, counsel for the defendant is in contact with the government

in an effort to try and reach an agreement if possible. Defense counsel requests that the motion

deadline be extended to January 27, 2006. Per a telephone conversation with chambers, the

government states that it does not object to the requested extension but would ask that its January

27 response deadline be extended as well.




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Case 3:05-cr-00117-TAV-CCS             Document 69       Filed 01/18/06      Page 1 of 2      PageID
                                             #: 31
       The Court GRANTS the defendant’s request for an extension [Doc. 68] because the

government does not oppose it and because it appears that the defendant needs additional time to

review materials and prepare any pretrial motions. The Court extends the deadline for the filing of

pretrial motions to January 27, 2006. The government’s responses are due by February 10, 2006.

All other dates and deadlines in the case will remain the same at this time.

       IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




                                                 2


Case 3:05-cr-00117-TAV-CCS           Document 69       Filed 01/18/06      Page 2 of 2     PageID
                                           #: 32
